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9
                                UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11
                                     SAN FRANCISCO DIVISION
12
13
14   UNITED STATES OF AMERICA,                    )       No.: CR 06-0426 SI
                                                  )
15           Plaintiff,                           )       [PROPOSED] ORDER
                                                  )       EXCLUDING TIME
16      v.                                        )
                                                  )
17   MICHAEL YUK LAM LEUNG,                       )
                                                  )
18           Defendant.                           )
                                                  )
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             This matter came on for hearing before the Court on June 22, 2006. Defendant Michael
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     Yuk Lam Leung appeared in custody represented by Juliana Drous. The United States appeared
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     through Assistant U.S. Attorney Audra Ibarra. Defendant Leung was released on bail.
23
             The parties represented that the government has previously provided voluminous
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     discovery materials (according to the government, it includes more than 150,000 pages of
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     images, plus DVD’s and CD-ROMs as well as videotapes) to other defense counsel for other
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     defendants charged in this and related cases. (The Court is familiar with the underlying case,
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     United States v. Enrique Chan, et al., CR 05-0375 SI, which stemmed from a wiretap
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     investigation and involved numerous defendants.) Defense counsel and the defendant requested

     ORDER EXCLUDING TIME
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1    the continuance and agreed that a Speedy Trial Act exclusion is appropriate under 18 U.S.C. §
2    3161(h)(8), based upon counsel’s need to review the discovery and become familiar with the
3    case, and that it was necessary to provide reasonable time for effective preparation, taking into
4    account the exercise of due diligence.
5           The next date for this case is September 1, 2006 at 11:00 a.m. before United States
6    District Judge Susan Illston.
7           Accordingly, THE COURT FINDS that a continuance from June 21, 2006 through and
8    including September 1, 2006 is appropriate, and that the ends of justice served by granting such a
9    continuance outweigh the best interest of the public and the defendant in a speedy trial. THE
10   COURT FURTHER FINDS that failure to grant such a continuance would deny the defendant
11   and his counsel the reasonable time necessary for effective preparation of the case (including
12   review of the voluminous discovery), taking into account the exercise of due diligence. THE
13   COURT THEREFORE ORDERS that the period from June 22, 2006 through September 1, 2006
14   is excludible time within the meaning of 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).
15
              8/8/06
16   DATED:
                                           HON. NANDOR VADAS
17                                         United States Magistrate Judge
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     ORDER EXCLUDING TIME                             2
